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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-978V
                                   Filed: November 15, 2017
                                        UNPUBLISHED


    KATHLEEN A. SEKO,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.
Lara Ann Englund, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On August 10, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury relate to vaccine
administration (“SIRVA”) as a result of her October 14, 2015 influenza vaccination.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

        On December 14, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for SIRVA. On November 15, 2017, respondent filed a proffer
on award of compensation (“Proffer”) indicating petitioner should be awarded
$140,630.00. Proffer at 1. In the Proffer, respondent represented that petitioner agrees

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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with the proffered award. Based on the record as a whole, the undersigned finds that
petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $140,630.00 in the form of a check payable to
petitioner, Kathleen A. Seko. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

KATHLEEN A. SEKO,                                    )
                                                     )
                      Petitioner,                    )
                                                     )
        v.                                           ) No. 16-978V
                                                     ) Chief Special Master Nora Beth Dorsey
SECRETARY OF                                         )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                      Respondent.                    )
                                                     )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.      Compensation for Vaccine Injury-Related Items

        Respondent proffers that, based on the evidence of record, petitioner should be awarded

$140,630.00. This amount represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.     Form of the Award

        The parties recommend that the compensation provided to petitioner should be made as a

lump sum payment of $140,630.00, in the form of a check payable to petitioner. 1 Petitioner is a

competent adult. Evidence of guardianship is not required in this case. This amount accounts

for all elements of compensation under 42 U.S.C. § 300aa-15(a) to which petitioner would be

entitled.

                                             Respectfully submitted,

                                             CHAD A. READLER
                                             Acting Assistant Attorney General



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  Should petitioner die prior to entry of judgment, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering, and the parties reserve the
right to move the Court for appropriate relief.
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                                   C. SALVATORE D’ALESSIO
                                   Acting Director
                                   Torts Branch, Civil Division

                                   CATHARINE E. REEVES
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   HEATHER L. PEARLMAN
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   s/ LARA A. ENGLUND
                                   LARA A. ENGLUND
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Dated: November 15, 2017




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